Case:18-05288-EAG11 Doc#:229 Filed:07/26/19 Entered:07/26/19 16:14:02                     Desc: Main
                            Document Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO



                                                        CASE NO. 18-05288-EAG
  IN THE MATTER OF:                                     CHAPTER 11

  SKYTEC, INC.,

  Debtor

                     JOINT SECOND MOTION REQUESTING FURTHER
                        MODIFICATION OF PRE-HEARING ORDER

  TO THE HONORABLE COURT:

         COMES NOW Debtor, Skytec, Inc. (hereinafter “Skytec”) and Creditor Logistic Systems,

  Inc. (hereinafter “LogiSYS”) through their respective counsel and respectfully STATE and

  PRAY as follows:

  1.       On May 23, 2019, this Honorable Court issued an order at Docket No. 208 ordering the

  parties to submit a pre-hearing report on or before July 8, 2019.

  2.     The order calls, among other things, for a list of proposed findings of facts and the

  exchange of evidence between the parties.

  3.     At that time, Debtor's expert, CPA Lu i s Carrasquillo, was drafting his report but was

  going to be unable to conclude the same before the July 8, 2019 deadline.

  4.     After consulting with LogiSYS 's counsel, it became evident that LogiSYS would need

  a period of time after the delivery of CPA Carrasquillo's report to review it, possibly conduct an

  inspection of the documents evaluated by CPA Carrasquillo and decide whether a rebuttal report

  will be drafted.
Case:18-05288-EAG11 Doc#:229 Filed:07/26/19 Entered:07/26/19 16:14:02                      Desc: Main
                            Document Page 2 of 4


  5.     Taking the aforementioned into consideration, the parties agreed to file a motion on July

  23, 2019 to request a modification of the pretrial order issued at Docket No. 208. At that time,

  the parties informed the Court as follows:

         a.      LogiSYS had already submitted to Debtor a set of proposed uncontested facts

  with specific references to the record;

         b.     Debtor would submit to LogiSYS its proposed findings of facts, CPA Carrasquillo’s

  report, and copy of any additional documental evidence on or before July 8, 2019.

         c.      LogiSYS would have until July 23, 2019 to submit to Debtor any additional

  proposed findings of facts and evidence, including expert reports, if any.

         d.      The parties would have until July 26, 2019 to agree on any uncontested findings

  of facts and the admissibility of exhibits.

         e.      The Pretrial Report would be filed on July 26, 2019.

  6.       On July 10, 2019, this Court granted the joint motion, order which was entered on docket

  on July 12, 2019 as Docket No. 225.

  7.     Since that date, the following work has been performed by the parties:

         Debtor responded to LogiSYS’s proposed uncontested facts, which has resulted in over

  ninety stipulated facts, and proposed additional ones;

         Debtor served LogiSYS a copy of Mr. Carrasquillo’s report and produced documents upon

  which Mr. Carrasquillo relied to prepare his report;

         LogiSYS’s expert, Mr. Carlos Baralt, had the opportunity to review Mr. Carrasquillo’s

  report and documents, and prepared his own report;

          LogiSYS submitted to Debtor additional proposed findings of facts and its list of exhibits,

  and produced Mr. Baralt’s Expert Report and exhibits; and



                                                   2
Case:18-05288-EAG11 Doc#:229 Filed:07/26/19 Entered:07/26/19 16:14:02                          Desc: Main
                            Document Page 3 of 4


         LogiSYS submitted Debtor its response to Debtor’s proposed uncontested facts and its

  proposed conclusions of law.

  8.     As of this date, the parties still need to meet to finalize any additional agreements on the

  stipulation of exhibits, the possible inclusion of additional exhibits, and to join into a single

  document their work product. Events beyond the control of the parties, however, have made these

  final efforts more difficult than they are already. For example, massive demonstrations have been

  occurring all over the Metropolitan Area of San Juan, and LogiSYS’s counsel’s office building

  was unexpectedly announced to be closed on July 25, 2019 due to a public demonstration in front

  of it. Therefore, the parties are not able to comply with the final obligation of completing and filing

  their Joint Pre-Hearing Report by Friday, July 26, 2019.

  9.     For all of the above-stated reasons, the parties request that they be granted a further

  extension of one week, until, Friday, August 2, 2019 to file their Joint Pre-Hearing Report. This

  modification will not delay the hearing itself, which is currently scheduled to take place on

  August 28-29, 2019.

  WHEREFORE, it is respectfully requested that this Court grant the relief requested in this

  motion and any further remedy that it deems appropriate.

  CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed

  the foregoing with the Clerk of the Court using the CM/ECF systems, which will send

  notification of such filing to the Office of the United States Trustee, and all participants of CM/

  EMF.

  In San Juan, Puerto Rico, this 26th day of July 2019.

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                                                    3
Case:18-05288-EAG11 Doc#:229 Filed:07/26/19 Entered:07/26/19 16:14:02           Desc: Main
                            Document Page 4 of 4


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                                        4
